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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION


    UNITED STATES OF AMERICA

    vs.                                                        CASE NO: 3:07-cr-233-J-33HTS

    MARK TIMOTHY LEWIS
     a/k/a M.L.


                                             ORDER

            This cause is before the Court on Defendant Lewis' Emergency Motion for Medical

     Attention (Doc. #232; Motion). A hearing was held in relation thereto on July 9, 2008. At the

     hearing, Defendant indicated he had recently received the particular medical care sought,

     including toenail removal, bandages, and antibiotic cream. Indeed, he was feeling "one

     hundred times better."

            Having heard the positions of the parties, and being otherwise fully advised in the

     premises, the Motion is DENIED without prejudice to the filing of a similar request should

     circumstances warrant.

            DONE AND ORDERED at Jacksonville, Florida, this 9th day of July, 2008.



                                                      /s/ Howard T. Snyder
                                                      HOWARD T. SNYDER
                                                      United States Magistrate Judge

     Copies to:

     counsel of record
           and pro se parties, if any
